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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                               )
IN RE:                                         )        Chapter 7
                                               )
PROJECT VERTE INC.,                            )        Case No. 23-0101-LSS
                                               )
                    Debtor.                    )        Adv. Proc. No. 23-50459-LSS
______________________________________________ )
                                               )
ALFRED T. GIULIANO, as Trustee for Project     )
                            Verte Inc.,        )
                                               )
                    Plaintiff,                 )
       v.                                      )
                                               )
JULIAN KAHLON and GRAHAM FORTGANG, )
                                               )
                    Defendants.                )
______________________________________________ )

                      DECLARATION OF LEONARD WEINTRAUB

              LEONARD WEINTRAUB declares, under penalty of perjury, as follows:

               1.     lam admitted to practice law before the courts of the State of New York

and am a Partner with the law firm of Paduano & Weintraub LLP, co-counsel for Defendants Julian

Kahlon and Graham Fortgang (collectively “Defendants”).

              2.      I submit this Declaration in support of Defendants’ Motion to Dismiss the

Amended Complaint.

              3.      A true and correct copy of the First Amended Complaint in this action, dated

November 1, 2023 [D.E. 29], is attached hereto as Exhibit A.

              4.      A true and correct copy of the Opinion & Order on Cross-Motions for

Summary Judgment, dated March 23, 2022, in the matter captioned Kahlon v. Project Verte, Inc.,

No. 20-cv-3774 (S.D.N.Y.), is attached hereto as Exhibit B.
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               5.      A true and correct copy of the email sent by Graham Fortgang to Sara

Rubenstein with copy to Jane Gol, Julian Kahlon and Yafit Lev-Aretz on July 19, 2022 at 12:20

AM, without attachments, is attached hereto as Exhibit C.

               6.      A true and correct copy of the Motion for an Entry of an Order Directing

Turnover of Real Estate Property, dated February 24, 2023, filed in In re Project Verte Inc., U.S.

Bankruptcy Court for the District of Delaware (Case No. 23-10101-LSS) [D.E. 30], is attached

hereto, without exhibits, as Exhibit D.

               7.      A true and correct copy of Project Verte Inc.’s Amended and Restated

Certificate of Incorporation, dated June 17, 2019, is attached hereto as Exhibit E.

               Pursuant to 28 U.S.C. Section 1746,1 declare under penalty of perjury
               under the laws of the United States of America that the foregoing is true
               and correct.^Exec^ed^^


                              Leonard Weintraub




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